                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                         CRIMINAL DOCKET NO.: 3:94CR40

UNITED STATES OF AMERICA            )
                                    )
            vs.                     )
                                    )                         ORDER
TONY OSIAS (2),                     )
                                    )
            Defendant.              )
___________________________________ )

       THIS MATTER is before the Court on Defendant’s “Motion to Terminate Supervised

Release,” filed May 3, 2006. On May 8, 2006, the Government filed a Response in Opposition

to Defendant’s Motion for Early Termination of Supervised Release. This Motion is now ripe

for disposition by the Court.

       On January 4, 1996, the Court sentenced Defendant to 142 months imprisonment and five

(5) years supervised release. On September 4, 2002, Defendant filed a Motion to Modify his

sentence, specifically asking the Court to strike the twenty-first condition of supervised release,

which required him to reimburse the United States for the cost of his court-appointed counsel. In

an Order dated September 24, 2002, the Court denied Defendant’s Motion to Modify his

sentence. Defendant’s supervised release commenced on August 6, 2004 in the Middle District

of Florida and will expire on August 5, 2009.

       On December 14, 2004, the Government filed a Motion to Deny Travel Abroad, advising

the Court that Defendant had requested permission to travel Saudia Arabia for a religious

pilgrimage and asking the Court to deny such request. On December 21, 2004, the Court granted

the Government’s Motion to Deny Travel Abroad.


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       Then, on October 11, 2005, Defendant filed a Motion to Terminate Supervised Release.

In that Motion, Defendant asked the Court to terminate his supervised release so that he could

make the Muslim Holy Pilgrimage to Mecca, Saudi Arabia, as well as travel to his parents’ home

land and see family in Haiti. In an Order dated December 13, 2005, the Court denied

Defendant’s request for termination of his supervised release.

       Subsequently, on February 6, 2006, Defendant filed a Motion for an Injunction.

Defendant sought an injunction to prohibit his United States Probation Officer from collecting

his DNA, arguing that allowing the Probation Officer to take his DNA was unconstitutional. On

February 14, 2006, the Court denied Defendant’s Motion for an Injunction.

       Defendant now asks the Court to terminate his supervised release, advising the Court that

he would like to accompany his father to Haiti. Defendant further states that during his term of

supervised release, he has maintained employment, earned an associates degree from Penn State

University, and has been actively involved with his family and the community.

       In response, the United States Attorney for the Western District of North Carolina advises

the Court that she has spoken with United States Probation Officer William Lester, who is

responsible for supervising Defendant, and Mr. Lester advised her that the Defendant should

remain on supervised release. The Government concurs with this recommendation.

       Taking into consideration the factors set forth in 18 U.S.C. § 3553(a), and after the

defendant has completed at least one year of supervised release, a court may terminate a term of

supervised release if the court is satisfied that such termination is warranted by the conduct of the

defendant and the interest of justice. 18 U.S.C. § 3583(e). Accordingly, the Court has

considered the relevant factors in 18 U.S.C. § 3553(a), the conduct of Defendant, the interests of


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justice, and the recommendation of the United States Probation Office. Upon such review the

Court finds that termination of supervised release would be premature at this time.

       IT IS, THEREFORE, ORDERED, that Defendant’s Motion to Terminate Supervised

Release is hereby DENIED.

       The Clerk is directed to send copies of this Order to the Defendant, the United States

Attorney, and the United States Probation Office for the United States District Court for the

Middle District of Florida.



                                                Signed: May 17, 2006




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